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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION


  BRIAN VUKADINOVICH,

                            Plaintiff,             Cause No. 22 Civ. 118
                v.
                                                   Judge Theresa L. Springmann
  RICHARD A. POSNER,                               Magistrate Judge Joshua P. Kolar

                            Defendant.


            DEFENDANT’S RESPONSE TO EX PARTE COMMUNICATION

       At the Court’s invitation, Dkt. 99, Defendant respectfully requests that the Court disregard

 the ex parte communication received on December 29.

 New York, New York
 January 4, 2024

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                                  CERTIFICATE OF SERVICE

          The undersigned certifies that on January 4, 2024, the foregoing was electronically filed

 with the Clerk of the Court via CM/ECF and was also served via email pursuant to Fed. R. Civ. P.

 5(b)(2)(E) on pro se Plaintiff Brian Vukadinovich per his agreement to receive such papers via

 email.




                                                             /s/ Justin M. Ellis
                                                             Justin M. Ellis
